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of
IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF CALIFORNIA

GARRISON JONES, v. VELOCITY TECHNOLO
SOUTIONS et al Fl LED
MAY 18 2020

Civil Action No. 2:19-cv-02374 KJM-EFB ~
MEMORANDUM ea Steet SteiSY oF CALC WA
BY,

Pending before the Court is defendants’ motion to dismiss of
May 4, 2020

The plaintiff is hereby submitting this Memorandum in an effort
an opportunity for the defendants to withdraw its motion for the
specific reason that they know that the motion is baseless and
does not contain a single ounce of any true allegations. The
defendants as it stands as of the date said motion was filed is in
direct violation of FRCP Rule 11 (b) (c)

As the defendants and their attorneys in multiple documented
occasions have submitted not only forged documents to multiple
state and federal jurisdictions, which they knew to be false. On
this occasion is the first time they have submitted any document
or responded to any litigation where they did so in a manner
where the plaintiff had the opportunity to respond and or defend
after first being aware of the response. All other false —
documents that have been filed without the knowledge of the
plaintiff and done behind his back as in the (5) cases in the
(AZDES) Arizona Department of Economic Security where the
filed
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a. False and forged “ employer protest” claiming the plaintiff
was still employed knowing that they had secretly
terminated him but was done so to interfere with his rights
to collect unemployment benefits.
b. Then in doing so in a span of 90 days submitted multiple
documents and committed multiple violations to AZDES
that falsely claimed that forced the plaintiff to file appeals
to each false claim. This included
a. He was still employed
b. He was unable to work
c. Filing and appeal after losing and original appeal over 40
days after the court deadline

d. Impersonated the plaintiff in conversations with AZDES

e. Submitted unsolicited plaintiff confidential medical
records

f. Falsely claiming the plaintiff was committing
unemployment fraud (a felony in AZ) that falsely
claimed he was working and collecting unemployment at
the same time. They unsuccessful in their efforts to
derail the plaintiff resulted in making a claim that he was
breaking the law and attempted to get him indicted for a
felony to in their minds would send him to prison, to stop
him from moving forward in any litigation. This was
done so that he would not collect a meager amount of
$240.00 per week in unemployment. They attempted to
“Stack the deck” and put as many obstacles in the path
of the plaintiff as they could, all proven false. This

~ shows and illustrates what length the defendants and
their attorneys would result to stop the plaintiff in
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receiving and getting deserved judicial resolutions to his
claims.

Each false allegation forced the plaintiff to file an appeal with
the Arizona Court of Appeals. The court should know that after
the defendants and their attorneys both knew of the appeal, the
date/time of all hearings, which they failed to appear and
provide any testimony, exhibits, or evidence to support any of
their allegations. All they knew were false yet when faced with
the opportunity to “stand up” to these false allegations, they
cowardly did not appear.

Except in one occasion when they knew of the hearing date/time
instead of appearing in court, they faxed over the forged false
document they sent the first time, hoping that the court would
admit it and interpret it anyway they wanted as long as it was in
their favor. In all such appeals 5) where the defendants were
represented by attorneys from Ogltree Deakins. As of this date,
the attorneys assigned currently are the seventh and eighth
attorneys assigned. Their status is from an Associate to now a
managing shareholder. However in this case they who are using
the client as a “cash cow” for the sake of revenue, have
submitted to the court a known fraudulent motion and are
attempting to defend this motion before he court.

In each case the Appeals Court of Arizona ruled in favor of
the plaintiff as in each case, he proved that the allegations were
false and had supporting documentation to prove it, the same as
he has in this case. The court needs to be aware of this historical
documented fact and see that the trend of submitting false
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allegations to the court continues as the motion before the court
is completely false and not only can the plaintiff prove it, the
court who has access to the Pacer system can also view and see
that the allegations by the defendants and their attorneys are a
complete lie.

However, I have taken a different approach and have already
gathered multiple documents in preparation in addition to a

pre engagement letter along with a copy of the baseless,
without merit, fraudulent motion before the court to the
Sacramento and California Bar Association in hopes that they
can talk some sense into these attorneys and let them know they
put their law license in jeopardy as well the real possibility of
misconduct and sanctions that will be a result of their efforts in
defending a client that they know are guilty of not only the
claims in this case, but also of multiple state and federal civil
and criminal offenses.

It is my intent to not only file motions related to Rule 11 but also
file official misconduct complaints.

In this era of the current pandemic, the defendants’ attorney is
using them for the purpose of “revenue” and are not counseling
them in a manner consistent within the parameters of the law.

The defendants and their attorneys have continuously acted in
bad faith in each complaint and litigation it has faced.
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Notwithstanding multiple litigations that have not yet begun and
that have surfaced since the pandemic has begun.

The oath and this statement means nothing to them. Evident of
this is the motion before the court at this time.

In that they have made the declaration that they made the declaration and signed
the motion, knowingly that it was completely false and frivolous, with the only
reason for the motion was to commit fraud upon the court.

Declare (or certify, verify, or state) under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct

Respectfully submitted, _
GARRISON JONES, PLAINTIFF

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Case No. 2:19-cv-02374-KJM-EFB

RE: Attempt to avoid/prevent sanctions Rule 11 and Grievance
Velocity Technology Solutions.

Sir, I am contacting your organization in an effort to prevent and avoid federal
sanctions and the filing of a serious major grievance against the two attorneys above
from the law firm of OGLETREE, DEAKINS, NASH,

SMOAK & STEWART, P.C... [have been involved in litigation in multiple cases in
Arizona, Illinois, and now California with my former employer Velocity Technology
Solutions. In each case, I have appeared Pro Se and in each case, they have lost each
case.

Other people and law firms maybe afraid of the reputation of Ogletree Deakins but I am
not one of them. They are under the assumption that just because of their name, people
are to “bow” down to their unethical acts and behavior; I am not one of them. I am not
impressed by no means of their legal expertise.

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Also in each caseothey have been represented by an-attonsey from OGLETREE,
DEAKINS, NASH, SMOAK & STEWART, P.C. I want to add that in each case, they

have never and I repeat never responded, filed a counter claim, offered a single word of
testimony nor have they ever submitted in person a shred of evidence, or responded by
filing a motion or any other pleading during the entire 3 years of litigations, until now. |
However, in all cases, they have with their attorneys from this firm submitted multiple
fraudulent documents to the courts and at the time of the hearings, they knew of the
date/time and intentionally did not appear. This was orchestrated not because of
strategy, but was done as if they offered any testimony or denial of any sort, it would be
perjury. I have an overabundance of evidence of mail fraud, over billing customers, and
most of all Ii have in my possession 16 gigabyte of stolen intellectual property stolen
from Velocity “business partner Infor” that they conspired to steal and stole for the main
reason of “American Greed” and profit. I am the one person who can be the main
witness that not only will get Velocity employees and executives federally indicted and
sent to prison, but also executives from several multi-billion dollar organizations. .

Now the two attorneys above are the seventh and *eighth attorneys assigned to me and
these cases. All the other attorneys who have done some serious unethical documented
acts have been “reassigned” Their client is guilty and they know it. This firm is not
simply representing them in discrimination cases, they have been retained to squash all
attempts and progress any way they can by breaking the law.

Their most recent stab at this resulted in a judicial misconduct complaint that was sent to
the Seventh Circuit Court of appeals and to several federal law enforcement agencies
because they have now intertwined a federal judge in their attempts to prevent their
client from federal and state criminal indictment and prosecution.

While I am not going to point out the elements in their motion, I will tell you I have
proof that not one single allegation and sentence in the motion is true. It is simply a
bunch of lies they have put together so they can bill their client and continue to treat
them as a cash cow” while at the same time committing fraud upon the court, in
addition to losing every single case they have represented them on despite the fraudulent
and forged documents they have presented and cowardly sent to the courts that they
knew before submittal had misleading intent and fraudulent and then failed to appear for
the hearing to argue or defend. They are not stupid nor am I.
There is a hearing scheduled for fune3, 2020,at:10:00.ancandif they. appear to “defend”
their motion and thin it will be a “walk in the park” they are mistaken and have another

thing coming, I will assure you that the evidence and supporting document will have
them with their tails between their legs once again, but I will be asking the judge to file
notices of sanctions under Rule 11 and I will file grievances against both.

Are simply delaying the inevitable. They are on a crash course to prison no matter
HOW many millions of dollars they spend on legal fees.

It is my intention to move forward and I have already prepared to complaint
communications. Your organization has a chance to avoid a major grievance and
forewarn these individuals of the potential consequences of their actions or potential
actions. By no means is this challenge, but a professional ethical courtesy. Just because
maybe business is slow due to this pandemic, all billable hours, and revenue is not good
billable hours and revenue, not if it will cost you, your career. If you ever saw “Hunt
for Red October, remember this line “ I have seen their tactic (Ogitree) L can
anticipate and tell you their next move

Thanking you in advance and guidance you can provide to these lost souls.

Regards

Garrison Jones
